    Surveillance of Samy Hamzeh
          AUGUST 17, 2015 – JANUARY 26, 2016
                 Source: Surveillance_000001 - 705




     August                                   0 days
    September                                 6 days
     October                                 24 days
    November                                  7 days
    December                                 14 days
     January                                 22 days                    16-CR-21



      Total                                  73 days                        1728


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                              September 2015

  Date     date          Times that are
Started   ended         noted on report                                                               Agents

                                                                                     Luciana Gottlieb, Matthew Desorbo, Amy Horwath,
9/23/15   9/23/15        1:00 p.m. – 7:35 p.m.                                    Timothy Loeh, Donald Robel, David Slager, Annette Tisdale



                                                                                      Luciana Gottlieb, Matthew Desorbo, Donald Robel,
9/24/15   9/25/15        4:43 p.m. – 11:10 p.m.                                                 Annette Tisdale, David Slager



                                                                                       Matthew Desorbo, Amy Horwath, Donald Robel,
9/25/15   9/25/15       10:18 a.m. – 7:05 p.m.                                         Luciana Gottlieb, David Slager, Annette Tisdale



                                                                                      Matthew Desorbo, Luciana Gottlieb, Timothy Loeh,
9/28/15   9/29/15        3:11 p.m. – 11:47 p.m.                                          Donald Robel, David Slager, Annette Tisdale



                                                                                      Matthew Desorbo, Luciana Gottlieb, Timothy Loeh,
9/29/15   9/30/15        3:26 p.m. – 6:10 p.m.                                          David Slager, Annette Tisdale, Amy Horwath




                    Totals                    6 Days of Surveillance


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                                   October 2015
  Date      date           Times that are
Started    ended          noted on report                                                               Agents

                                                                                         Matthew Desorbo, Timothy Loeh, Donald Robel
10/01/15   10/01/15        4:37 p.m. – 9:36 p.m.                                                David Slager, Annette Tisdale
                                                                                        Matthew Desorbo, Luciana Gottlieb, Timothy Loeh
10/02/15   10/03/15       3:47 p.m. – 11:25 p.m.                                          Donald Robel, David Slager, Annette Tisdale
                                                                                        Luciana Gottlieb, Matthew Desorbo, Donald Robel
10/05/15   10/06/15       4:00p.m. – 10:51 p.m.                                           Annette Tisdale, David Slager, Timothy Loeh
                                                                                        Luciana Gottlieb, Matthew Desorbo, Donald Robel
10/06/15   10/07/15       3:40 p.m. – 12:08 a.m.                                          Annette Tisdale, David Slager, Timothy Loeh
                                                                                        Matthew Desorbo, Luciana Gottlieb, Timothy Loeh
10/07/15   10/07/15       4:00 p.m. – 5:40 p.m.                                                  David Slager, Annette Tisdale
                                                                                        Matthew Desorbo, Luciana Gottlieb, Hagan Connor
10/08/15   10/09/15       4:07 p.m. – 11:45 p.m.                                          Donald Robel, David Slager, Annette Tisdale
                                                                                         Matthew Desorbo, Donald Robel, Hagan Connor
10/09/15   10/10/15       4:00 p.m. – 11:05 p.m.                                         Annette Tisdale, David Slager, Luciana Gottlieb
                                                                                              Matthew Desorbo, Luciana Gottlieb
10/13/15   10/14/15       3:47 p.m. – 12:10 a.m.                                           Hagan Connor, Timothy Loeh, David Slager
                                                                                         Jonathan Adkins, Michael Buono, Joseph Zuraw
10/15/15   10/16/15       3:50 p.m. – 12:20 a.m.                                           Timothy Loeh, Connor Hagan, David Slager
                                                                                        Donald Robel, Matthew Desorbo, Luciana Gottlieb
                                                                                        Luciana Gottlieb, Matthew Desorbo, Connor Hagan
10/16/15   10/17/15        7:20 p.m.– 11:59 p.m.                                                  Donald Robel, Timothy Loeh
                                                                                         Luciana Gottlieb, Connor Hagan, Amy Horwath
10/17/15   10/17/15       11:24 a.m. – 8:48 p.m.                                                  Timothy Loeh, Donald Robel
                                                                                          Luciana Gottlieb, Amy Horwath, Donald Robel
10/18/15   10/18/15        1:50 p.m. – 9:25 p.m.                                                 Connor Hagan, Annette Tisdale
                                                                                           Oscar Alvarez, Jeffrey Balinao, Irving Clark
10/19/15   10/19/15             10:30 a.m. -                                            Nicholas Hoffman, Carrie Kelley, Milosz Szymczak
                                                                                                 Kristy Kennelly, Brent Dempsey
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                             October 2015 cont.
  Date      date           Times that are
Started    ended          noted on report                                                                Agents
                                                                                         Luciana Gottlieb, Connor Hagan, Annette Tisdale
10/19/15   10/20/15        3:15 p.m. - 11:09 p.m.                                         Timothy Loeh, David Slager, Matthew Desorbo
                                                                                           Jeffrey Balinao, Oscar Alvarez, Carrie Kelley
10/20/15   10/20/15        7:30 a.m. – 4:26 p.m.                                          Mark Kelley, Kristy Kennelly, Nicholas Hoffman
                                                                                                  Milosz Szymczak, Irving Clark
                                                                                          Luciana Gottlieb, Connor Hagan, Donald Robel
10/20/15   10/21/15        4:26 p.m. – 11:11 p.m.                                           Connor Hagan, David Slager, Timothy Loeh
                                                                                         Matthew Desorbo, Donald Robel, Connor Hagan
10/21/15   10/21/15        9:17 a.m. - 4:46 p.m.                                          David Slager, Timothy Loeh, Kristy Kennelly
                                                                                        Oscar Alvarez, Kristy S. Kennelly, Milosz J. Szymcak
10/21/15   10/21/15       5:00 p.m. – 8:45 p.m.                                                      Yun Charles, Brian Watts
                                                                                         Milosz Szymczak, Oscar Alvarez, Jeffrey Balinao
10/21/15   10/22/15        2:30 p.m – 11:17 p.m.                                          Irving Clark, Nicholas Hoffman, Carrie Kelley
                                                                                               Mark Thomas Kelley, Kristy Kennelly
                                                                                   Kristy Kennelly, Jeffrey Balinao, Carrie Kelley, Oscar Alvarez
10/22/15   10/22/15       6:50 a.m. – 11:45 p.m.                                         Nicholas Hoffman, Irving Clark, Milosz Szymczak

10/22/15   10/23/15        3:12 p.m. – 11:46 p.m.                                  Matthew Desorbo, Timothy Loeh, Donald Robel, David Slager

                                                                                         Matthew Desorbo, Connor Hagan, Timothy Loeh
10/26/15   10/27/15       3:43 p.m. – 11:08 p.m.                                                  Donald Robel, David Slager
                                                                                        Matthew Desorbo, Luciana Gottlieb, Connor Hagan
10/29/15   10/29/15        8:45 a.m. – 4:35 p.m.                                                  Donald Robel, David Slager
                                                                                        Donald Robel, Matthew Desorbo, Luciana Gottlieb
10/30/15   10/30/15        8:43 a.m. – 4:52 p.m.                                                 David Slager, Connor Hagan




                      Totals                      24 Days of Surveillance
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                                 November 2015

  Date      date           Times that are
Started    ended          noted on report                                                              Agents

11/2/15    11/2/15         9:50 a.m. – 5:07 p.m.                                 Luciana Gottlieb, Connor Hagan, Matthew Desorbo, David Slager

                                                                                        Matthew Desorbo, Luciana Gottlieb, Connor Hagan
11/3/15    11/3/15        10:45 a.m. – 6:48 p.m.                                            Timothy Loeh, Donald Robel, David Slager
                                                                                         Matthew Desorbo, Donald Robel, Connor Hagan
11/4/15    11/4/15         9:40 a.m. – 4:31 p.m.                                                  David Slager, Timothy Loeh
                                                                                       Matthew Desorbo, Luciana Gottlieb, Amy Horwath
11/6/15    11/6/15        8:40 a.m. – 4:40 p.m.                                     Timothy Loeh, Donald Robel, David Slager, Connor Hagan
                                                                                        Donald Robel, Luciana Gottlieb, Matthew Desorbo
11/12/15   11/12/15       10:45 a.m. – 6:26 p.m.                                           Connor Hagan, Timothy Loeh, David Slager
                                                                                         Matthew Desorbo, Connor Hagan, David Slager
11/16/15   11/16/15       10:45 a.m. – 6:45 p.m.                                          Timothy Loeh, Donald Robel, Amy Horwath
                                                                                        Matthew Desorbo, Luciana Gottlieb, Connor Hagan
11/22/15   11/22/15       8:40 a.m. – 4:54 p.m.                                             Amy Horwath, Timothy Loeh, David Slager




                      Totals                       7 Days of Surveillance




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                                   December 2015
  Date       date            Times that are
Started     ended           noted on report                                                             Agents

12/04/15   12/04/15          8:45 a.m. – 4:34 p.m.                               Matthew Desorbo, Amy Horwath, Donald Robel, David Slager

                                                                                      Luciana Gottlieb, Amy Horwath, Matthew Desorbo
12/07/15   12/07/15         10:50 a.m. – 7:09 p.m.                                        Donald Robel, David Slager, Timothy Loeh
                                                                                      Matthew Desorbo, Luciana Gottlieb, Amy Horwath
12/08/15   12/08/15         12:45 p.m. – 8:35 p.m.                                              David Slager, Timothy Loeh
                                                                                      Luciana Gottlieb, Matthew Desorbo, Amy Horwath
12/09/15   12/09/15          12:15 p.m. – 5:43 p.m.                                             Timothy Loeh, David Slager
                                                                                      Matthew Desorbo, Luciana Gottlieb, Amy Horwath
12/10/15   12/10/15         12:50 p.m. – 8:45 p.m.                                             Timothy Loeh, David Slager
                                                                                      Matthew Desorbo, Luciana Gottlieb, Amy Horwath
12/11/15   12/11/15         10:43 a.m. – 6:48 p.m.                                             Timothy Loeh, David Slager
                                                                                      Amy Horwath, Matthew Desorbo, Luciana Gottlieb
12/14/15   12/14/15         10:46 a.m. – 6:36 p.m.                                             Timothy Loeh, David Slager
                                                                                     Welden Howard, Milosz Szymczak, Michael Viggiani
12/15/15   12/16/15          4:41 p.m. – 12:11 a.m.                                      Shannon Ciesla, Carrie Kelley, Mark Kelley
                                                                                      Matthew Desorbo, Luciana Gottlieb, Donald Robel
12/17/15   12/17/15         12:44 p.m. – 8:38 p.m.                                             Timothy Loeh, David Slager

12/23/15   12/23/15          1:10 p.m. – 5:58 p.m.                             Donald Robel, Matthew Desorbo, Luciana Gottlieb, David Slager

                                                                                      Luciana Gottlieb, Matthew Desorbo, Ronald Robel
12/29/15   12/29/15          10:44 a.m. – 5:15 p.m.                                             David Slager, Amy Horwath

12/30/15   12/30/15          11:44 a.m. – 7:14 p.m.                             David Slager, Luciana Gottlieb, Matthew Desorbo, Donald Robel


12/31/15   12/31/15         10:50 a.m. – 5:09 p.m.                              Luciana Gottlieb, Matthew Desorbo, Ronald Robel, David Slager




                      Totals                        14 Days
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                           January 2016 cont.
  Date     date         Times that are
Started   ended        noted on report                                                                  Agents

                                                                                      Matthew Desorbo, Luciana Gottlieb, Donald Robel
1/02/16   1/02/16        1:20 p.m. – 8:09 p.m.                                                 David Slager, Amy Horwath
                                                                                        Michael Viggiani, Milosz Szymczak, Mark Kelley
1/03/16   1/03/16        8:33 a.m. – 4:50 p.m.                                    Glenn Knuth, Carrie Kelley, Welden Howard, Shannon Ciesla
                                                                                      Matthew Desorbo, Luciana Gottlieb, Donald Robel
1/03/16   1/04/16       5:00 p.m. – 11:41 p.m.                                                 David Slager, Amy Horwath
                                                                                  Milosz Szymczak, Carrie Kelley, Mark Kelley, Shannon Ciesla
1/04/16   1/04/16        8:30 a.m. – 4:24 p.m.                                          Michael Viggiani, Glenn Knuth, Welden Howard

1/04/16   1/05/16        4:52 p.m. - 11:57 p.m.                                  Donald Robel, Matthew Desorbo, Timothy Loeh, David Slager

                                                                                   Carrie Kelley, Mark Kelley, Glenn Knuth, Milosz Szymczak
1/05/16   1/05/16        8:34 a.m. – 4:34 p.m.                                                 Michael Viggiani, Shannon Ciesla
                                                                                      Luciana Gottlieb, Amy Horwath, Matthew Desorbo
1/05/16   1/06/16        4:43 p.m. - 9:16 p.m.                                                  Donald Robel, Timothy Loeh
                                                                                        Glen Knuth, Welden Howard, Milosz Szymczak
1/06/16   1/06/16        8:30 a.m. – 4:45 p.m.                                            Shannon Ciesla, Carrie Kelley, Mark Kelley
                                                                                      Luciana Gottlieb, Matthew Desorbo, Donald Robel
1/06/16   1/06/16        4:52 p.m. – 8:15 p.m.                                                  David Slager, Timothy Loeh

1/07/16   1/07/16       2:00 p.m. – 4:43 p.m.                                                           Amy Horwath


1/08/16   1/08/16        8:45 a.m. – 3:24 p.m.                                  Matthew Desorbo, Luciana Gottlieb, Timothy Loeh, David Slager

                                                                                      Welden Howard, Milosz Szymczak, Michael Viggiani
1/08/16   1/09/16       4:42 p.m. – 12:10 a.m.                                            Carrie Kelley, Mark Kelley, Shannon Ciesla
                                                                                         Luciana Gottlieb, Donald Robel, David Slager
1/09/16   1/09/16        8:44 a.m. – 3:54 p.m.                                                   Timothy Loeh, Amy Horwath
                                                                                          Welden Howard, Carrie Kelley, Mark Kelley
1/09/16   1/10/16       4:44 p.m. – 12:28 p.m.                                         Glenn Knuth, Milosz Szymczak, Michael Viggiani

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                           January 2016 cont.
  Date     date        Times that are
Started   ended       noted on report                                                                     Agents

                                                                                        Matthew Desorbo, Luciana Gottlieb, Amy Horwath
1/10/16   1/10/16       8:50 a.m. – 3:23 p.m.                                                     Donald Robel, David Slager
                                                                                  Glenn Knuth, Mark Kelley, Carrie Kelley, Welden Howard
1/10/16   1/11/16       4:43 p.m. – 12:06 a.m.                                      Shannon Ciesla, Milosz Szymczak, Michael Viggiani
                                                                                        Luciana Gottlieb, Matthew Desorbo, Amy Horwath
1/11/16   1/11/16       8:47 a.m. – 3:30 p.m.                                                     Timothy Loeh, Donald Robel
                                                                                      Shannon Ciesla, Mark Kelley, Carrie Kelley, Glenn Knuth
1/11/16   1/12/16       4:25 p.m. – 12:31 a.m.                                                 Michael Viggiani, Welden Howard
                                                                                          Luciana Gottlieb, Amy Horwath, Donald Robel
1/12/16   1/12/16       8:53 a.m. – 4:42 p.m.                                                      Timothy Loeh, David Slager
                                                                                            Shannon Ciesla, Carrie Kelley, Glenn Knuth
1/12/16   1/13/16       4:46 p.m. – 12:40 a.m.                                                 Michael Viggiani, Milosz Szymczak
                                                                                        Luciana Gottlieb, Matthew Desorbo, Donald Robel
1/13/16   1/13/16        8:45 am. – 3:57 p.m.                                                     David Slager, Timothy Loeh
                                                                                         Glenn Knuth, Welden Howard, Milosz Szymczak
1/13/16   1/14/16       3:36 p.m – 11:29 p.m.                                               Shannon Ciesla, Carrie Kelley, Mark Kelley
                                                                                        Luciana Gottlieb, Matthew Desorbo, Donald Robel
1/14/16   1/14/16       8:46 a.m. – 2:58 p.m.                                                     David Slager, Timothy Loeh
                                                                                          Shannon Ciesla, Welden Howard, Glenn Knuth
1/14/16   1/15/16       4:35 p.m. – 12:40 a.m.                                                 Milosz Szymczak, Michael Viggiani
                                                                                          Matthew Desorbo, Donald Robel, David Slager
1/15/16   1/15/16       11:33 a.m. – 3:17 p.m.                                                   Timothy Loeh, Amy Horwath
                                                                                       Welden Howard, Milosz Szymczak, Michael Viggiani
1/15/16   1/16/16        4:41 p.m. – 12:11 a.m.                                            Shannon Ciesla, Carrie Kelley, Mark Kelley
                                                                                          Matthew Desorbo, Donald Robel, David Slager
1/16/16   1/16/16       8:43 a.m. – 2:50 p.m.                                                    Amy Horwath, Timothy Loeh
                                                                                           Welden Howard, Carrie Kelley, Glenn Knuth
1/16/16   1/16/16       2:00 p.m. – 6:24 p.m.                                                 Milosz Szymczak, Michael Viggiani



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                             January 2016 cont.
  Date     date           Times that are
Started   ended          noted on report                                                               Agents

                                                                               Matthew Desorbo, Amy Horwath, Donald Robel, David Slager
1/19/16   1/19/16         10:43 a.m. – 6:00 p.m.                            Timothy Loeh, Jonathan Adkins, Michal Buono, Eric Fraser, Joseph Zuraw
                                                                                     Luciana Gottlieb, Matthew Desorbo, Donald Robel
1/20/16   1/20/16         10:37 a.m. – 6:58 p.m.                                               David Slager, Timothy Loeh

1/20/16   1/21/16         7:10 p.m. – 11:02 p.m.                                Lance Barnes, Marc Dinkel, Mark Dring, Michael Brusacoram


1/21/16   1/21/16          3:00 a.m. – 5:25 a.m.                                           Eliot Mustell, Garrett Rein, Byron Franz


1/21/16   1/21/16               10:48 a.m. -                                   Matthew Desorbo, Donald Robel, David Slager, Timothy Loeh


1/21/16   1/22/16          5:50 p.m. – 2:03 a.m.                                                    Jennifer Walkowski

                                                                                     Matthew Desorbo, Luciana Gottlieb, Donald Robel
1/22/16   1/22/16         10:46 a.m. – 6:30 p.m.                                              David Slager, Timothy Loeh
                                                                                       Ronald Mosback, Matthew Bazala, G.B. Jones
1/23/16   1/23/16         2:10 a.m. – 10:56 a.m.                                             Monica Shipley, Brian McGowan

1/23/16   1/23/16          6:00 a.m. – 6:14 p.m.                                  Luis Salzberg, Melanie Steele, James Chang, Brian Kopp


1/23/16   1/24/16          6:22 p.m. – 1:40 a.m.                                      Craig Markham, Parker Susan Lee, W. Cory King


1/24/16   1/24/16         12:00 a.m. – 2:07 p.m.                               James Chang, Brian Keith Kopp, Luis Salsburg, Melanie Steele


1/24/16   1/24/16          3:10 a.m. – 5:40 a.m.                               Mark Dring, Michael D. Brusacoram, Chad Piontek, Marc Dinkel


1/24/16   1/25/16          5:51 p.m. - 12:27 a.m.                                     Craig Markham, W. Cory King, Parker Susan Lee

                                                                                  Brian Kopp, Melanie Steele, James Chang, Luis Salzberg
1/25/16   1/25/16         10:02 a.m. – 3:10 p.m.                                     Matthew Desorbo, G.B. Jones, Michael Brusacoram




                    Totals                        22 Days
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